

ORDER

PER CURIAM:
AND NOW, this 25th day of August, 1994, upon consideration of the Report and Recommendations of the Disciplinary Board dated August 3, 1994, it is hereby
ORDERED that ERIK F. LAWSON, JR., a/k/a ERIC F. LAWSON, JR., be and he is SUSPENDED from the Bar of this Commonwealth for a period of One (1) year, retroactive to March 17, 1993, and he shall comply with all the provisions of Rule 217 Pa.R.D.E.
It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
MONTEMURO, J., is sitting by designation as Senior Justice pursuant to Judicial Assignment Docket No. 94 R1801, due to the unavailability of-LARSEN, J., see No. 127 Judicial Administration Docket No. 1, filed October 28, 1993.
